      Case: 1:21-cv-04850 Document #: 1 Filed: 09/13/21 Page 1 of 6 PageID #:1




                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

MARTIN GONZALEZ,                              )
                                              )
                       Plaintiff,             )
                                              )
       vs.                                    )       No.
                                              )
VILLAGE OF HANOVER PARK,                      )
a municipal corporation,                      )       TRIAL BY JURY DEMANDED
OFFICER TIMOTHY ALLEN,                        )
OFFICER MARCO PARDUCCI,                       )
Hanover Park Police Officers,                 )
                                              )
                       Defendants.            )

                                         COMPLAINT

       NOW COMES the Plaintiff, Martin Gonzalez, by and through his attorney, JONATHAN

D. FELDMAN, and complains against Defendants Village of Hanover Park, and Officer Timothy

Allen, and Officer Marco Parducci, Hanover Park Police Officers (collectively “Defendant

Officers”), stating the following:

                                    JURISDICTION AND VENUE

       1.      This incident occurred on or about September 14, 2019, in Cook County, Illinois.

       2.      The jurisdiction of this Court is invoked pursuant to the Civil Rights Act, 42 U.S.C.

       §§ 1983 and 1988, and 28 U.S.C. §§ 1331 and 1343(a); the Constitution of the United

       States; and pendant jurisdiction, as provided by 28 U.S.C. § 1367(a).

       3.      Venue is proper under 28 U.S.C. § 1391(b). On information and belief, the parties

       reside in this judicial district, and the events giving rise to the claims asserted herein all

       occurred within this District.




                                                  1
Case: 1:21-cv-04850 Document #: 1 Filed: 09/13/21 Page 2 of 6 PageID #:2




                                          PARTIES

4.     The Plaintiff, Martin Gonzalez, is a resident of South Elgin, Illinois.

5.     The Defendant Village of Hanover Park (“Defendant Village”) is a municipal

corporation which is located in Cook County, Illinois, and at all times relevant to this

Complaint, was the employer of the Defendant Officers Timothy Allen and Marco

Parducci.

                                             FACTS

6.     On September 14, 2019, Defendant Officers were part of a special detail for an

event at St. Ansgar Catholic Church, located at 2040 Laurel Avenue, in Hanover Park.

7.     At approximately 10:30 p.m., Martin Gonzalez was being physically assaulted by

two men in the driveway of 2163 Laurel Avenue.

8.     As Defendant Officers Allen and Parducci approached the two men physically

assaulting Martin Gonzalez ran away.

9.     Defendant Officers Allen and Parducci forcibly knocked Martin Gonzalez to the

ground by grabbing his upper body and hands.

10.    While Martin Gonzalez was lying on the ground in a defenseless position with his

arms under his chest, Defendant Officer Allen repeatedly punched Martin Gonzalez in the

upper body and head.

11.    While Martin Gonzalez was lying on the ground in a defenseless position with his

arms under his chest, Defendant Officer Allen kneed Martin Gonzalez in his left thigh.

12.    Defendant Officer Parducci failed to intervene at any time to prevent excessive

force by Defendant Officer Allen against Plaintiff.




                                         2
Case: 1:21-cv-04850 Document #: 1 Filed: 09/13/21 Page 3 of 6 PageID #:3




13.    Martin Gonzalez was searched and Mr. Gonzalez did not possess any weapons or

contraband.

14.    Defendant Officers arrested Martin Gonzalez without probable cause and he was

taken to the Hanover Park police station.

15.    The Defendant Officers, acting maliciously, then authored reports which caused

Martin Gonzalez to be prosecuted without probable cause for resisting arrest.

16.    Each of the Defendant Officers played a substantial role in the prosecution of

Martin Gonzalez, causing him to be prosecuted without probable cause for resisting arrest.

17.    Defendant Officer Parducci failed to mention in his report that Officer Allen

repeatedly punched Martin Gonzalez in the upper body and head while Mr. Gonzalez was

lying on the ground in a defenseless position.

18.    Defendant Officer Parducci failed to mention in his report that Officer Allen kneed

Martin Gonzalez in the upper thigh while Mr. Gonzalez was lying on the ground in a

defenseless position.

19.    The Plaintiff suffered injuries, including physical and mental pain and suffering

and pecuniary damages, including medical bills and attorneys’ fees, as the proximate result

of the actions of the Defendants.

                        COUNT I - 42 U.S.C. § 1983 Excessive Force

                         (Plaintiff v. Defendants Allen and Parducci)

20.    Plaintiff re alleges what has been previously alleged in this complaint.

21.    The actions of Defendants Allen and Parducci in using unreasonable force against

the Plaintiff, without legal justification, violated the Plaintiff’s rights under the Fourth




                                          3
Case: 1:21-cv-04850 Document #: 1 Filed: 09/13/21 Page 4 of 6 PageID #:4




Amendment to the United States Constitution to be secure in their persons, houses, papers

and effects against unreasonable searches and seizures and this violated 42 U.S.C. § 1983.

22.     As the proximate result of all the aforementioned actions by Defendants Allen and

Parducci. Plaintiff suffered severe physical pain and Plaintiff suffered severe emotional

distress.

                  COUNT II - 42. U.S.C. § 1983 Failure to Intervene

                             (Plaintiff v. Defendant Parducci)

23.     Plaintiff re alleges what has previously been alleged in this complaint.The actions

of Defendant Parducci in failing to intervene to prevent Defendant Allen from using

excessive force violated the Plaintiff’s rights under the Fourth Amendment to the United

States Constitution to be secure in their persons, houses, papers and effects against

unreasonable searches and seizures and this violated 42 U.S.C. § 1983.

24.     As the proximate result of the aforementioned failure to intervene by Defendant

Parducci, Plaintiff suffered severe physical pain and severe emotional distress.



                      COUNT III - 42 U.S.C. § 1983 False Arrest

                       (Plaintiff v. Defendants Allen and Parducci)

25.     Plaintiff re alleges what has been previously alleged in this complaint.

26.     The actions of Defendants Allen and Parducci in falsely arresting the Plaintiff

without legal justification violated the Plaintiff’s rights under the Fourth Amendment to

the United States Constitution to be secure in their persons, houses, papers and effects

against unreasonable searches and seizures and this violated 42 U.S.C. § 1983.




                                         4
      Case: 1:21-cv-04850 Document #: 1 Filed: 09/13/21 Page 5 of 6 PageID #:5




       27.     As the proximate result of all the aforementioned actions by Defendants Allen and

       Parducci. Plaintiff suffered severe physical pain and Plaintiff suffered severe emotional

       distress.

                           COUNT III - Illinois State Law Claim of Battery

                               (Plaintiff v. Defendants Allen and Parducci)

       28.     Plaintiff re alleges what has been previously alleged in this complaint.

       29.     In taking the actions described above, Defendant Allen and Parducci willfully and

       wantonly committed a battery on Plaintiff, without legal justification.

       30.     In taking these Actions, Defendants Allen and Parducci acted within the course and

       scope of his employment with Defendant Village of Hanover Park and thus the Defendant

       Village of Hanover Park is liable based on the theory of respondeat superior.

       31.     As a result of the actions described in this complaint, Plaintiff suffered damages

       described more fully above.

                                     COUNT IV - Indemnification

       32.     The Plaintiff seeks indemnification from the Defendant Village of Hanover Park

       for any judgment obtained against the Defendant Officers, as all actions described herein

       were taken while under the color of law and in the course of their employment with the

       municipality.

       WHEREFORE, the Plaintiff seeks compensatory damages for his injuries, as well as

punitive damages against the Defendant Officers, and attorney’s fees, as well as the costs of

prosecuting this action, and any other further relief as this Court deems just and appropriate.

       The Plaintiff Demands A Trial By Jury

                                                             Respectfully submitted,




                                                 5
      Case: 1:21-cv-04850 Document #: 1 Filed: 09/13/21 Page 6 of 6 PageID #:6




                                                   /s/ Jonathan D. Feldman
                                                   Attorney for the Plaintiff
                                                   Martin Gonzalez

Jonathan D. Feldman
70 E. Lake Street
Suite 1220
Chicago, IL 60601
(312) 952-5172




                                         6
